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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x   Docket: 1:19-cv-10318
                                                                                 (ALC)(KNF)
STEVEN NACHSHEN,

                                 Plaintiff,                                      CONFIDENTIALITY
                                                                                 STIPULATION AND
                   -against-                                                     PROTECTIVE ORDER

ESRT 10 UNION SQUARE, L.L.C. AND STARBUCKS
CORPORATION,

                                Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

          IT IS HEREBY STIPULATED AND AGREED by and among counsel for the respective

parties in this action as follows:

          The parties having agreed to the following terms of confidentiality, and the Court having

found that good cause exists for issuance of an appropriately-tailored confidentiality order

governing the pre-trial phase of this litigation, it is therefore hereby

          ORDERED that any person subject to this Confidentiality Stipulation and Protective Order

(“Order”), including without limitation the parties to this action, their attorneys, representatives,

agents, experts and consultants, all third parties providing discovery in this action, and all other

interested persons with actual or constructive notice of this Order shall adhere to the following

terms:

          1.        Any person subject to this Order who receives from any other person any

information of any kind — whether in documents, testimony, or any other form — provided in

discovery in the course of this litigation (“Discovery Material”) that is designated as “Confidential”

pursuant to the terms of this Order shall not disclose such Confidential Discovery Material to

anyone else except as expressly permitted by this Order.

          2.        The person producing any given Discovery Material may designate as
                                                                  1
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“Confidential” such portion(s) of Discovery Material that contains non-public business,

commercial, financial, or personal information, the public disclosure of which is either restricted by

law or which, in the good faith opinion of the producing person, warrants such a designation

pursuant to the Federal Rules of Civil Procedure and interpretive case law.

          3.     With respect to the Confidential portion of any Discovery Material other than

deposition transcripts and exhibits, the producing person or that person’s counsel may designate

such portion as “Confidential” by stamping or otherwise clearly marking as “Confidential” the

document or protected portion of the document in a manner that will not interfere with legibility or

audibility. Deposition testimony may be designated as Confidential either (i) on the record during

the deposition or (ii) until seven (7) days after receipt of the deposition transcript.

          4.     At any time prior to the trial of this action, any Discovery Material inadvertently

produced without limitation may be designated by the producing person as Confidential by

informing all parties in writing that the Discovery Materials should be treated as Confidential under

this Order.

          5.     The Parties agree to keep any dates of birth and social security numbers as

Confidential. The Parties agree not to file or publicly disclose any documents containing a date of

birth or social security number unless the date(s) of birth or social security number(s) is redacted in

the document.

          6.     No person subject to this Order other than the producing person shall disclose any of

the Discovery Material designated as Confidential by the producing person to any other person,

except:

          i)     the parties to this action;
          ii)    counsel retained specifically for this action, including any paralegal, clerical, and
                 other assistant employed by such counsel and assigned to this matter;
          iii)   as to any document, its author, its addressee, and any other person indicated on the
                 face of the document as having received a copy;
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        iv)    any witness called to testify at deposition or at trial, provided that such person has a
               need to know such Confidential Discovery Material and provided further that such
               person has first executed a Non-Disclosure Agreement in the form attached to this
               Order;
        v)     any person retained by a party to serve as an expert witness or otherwise provide
               specialized advice to counsel in connection with this action, provided such person
               has first executed a Non- Disclosure Agreement in the form attached to this Order;
        vi)    stenographers engaged to transcribe depositions conducted in this action; and
        vii)   the Court and its support personnel.


        7.     Prior to any disclosure of any Confidential Discovery Material to any person

referred to in subparagraphs 6.iv. or 6.v. above, such person shall be provided by counsel with a

copy of this Order and shall sign a Non-Disclosure Agreement in the form attached to this Order.

Counsel shall retain each signed Non-Disclosure Agreement.

        8.     The Party designating a document(s) as Confidential Discovery Material will have

the obligation to make an application to the Court to have such document(s) filed under seal. The

parties will use their reasonable best efforts to minimize the filing of Discovery Materials under

seal.

        9.      Irrespective of any designation as Confidential, Confidential Discovery Material

does not include information which is (i) in the public domain, (ii) available on a non-confidential

basis or, (iii) becomes available on a non-confidential basis from a source other than the persons

subject to this Order, provided that such source is not known by the receiving party to be bound by

any duty to the designating party to keep such information confidential.

        10.    Any party who objects to any designation of confidentiality or to further limits on

disclosure (such as “attorneys’ eyes only” in extraordinary circumstances), may at any time prior to

the trial of this action serve upon counsel for the designating person a written notice stating with

particularity the grounds of the objection. If the parties cannot reach a prompt agreement

respecting the objection, the parties may seek a ruling from the Court with the party who

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designated the document or information as confidential having the burden of proving that the

designated document or information should be confidential.

          11.    Each person who has access to Discovery Material that has been designated as

Confidential shall take all due precautions to prevent the unauthorized or inadvertent disclosure of

such material.

          12.    Nothing in this Order shall preclude a party offering information subject to this

Confidentiality Order into evidence or from using any such information in the course of examining

or cross-examining any witness at the trial of this action or during a deposition conducted in this

action.

Dated: October 14, 2020
       New York, New York

 PARKER HANSKI LLC                                LITTLER MENDELSON P.C.


       ______
            _ ___
            ___ _ ____________
 By:_______________________                       By:__________________________
       G
       Gl
       Glenen H.
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                  10/16/20
SO ORDERED: _____________________________________
                KEVIN NATHANIEL FOX, U.S.M.J.




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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STEVEN NACHSHEN,
                                                                     1:19-cv-10318 (ALC)(KNF)
                       Plaintiff,

              -against-                                              NON-DISCLOSURE
                                                                     AGREEMENT
ESRT 10 UNION SQUARE, L.L.C. AND STARBUCKS
CORPORATION

                Defendants.
---------------------------------------
                                                                x


         I,                                            , acknowledge that I have read and understand

the Confidentiality Stipulation and Proposed Protective Order in this action (the “Order”). I agree

that I will not disclose any Confidential Discovery Material produced in this litigation to anyone

other than for purposes of this litigation and that at the conclusion of the litigation I will return all

discovery information to the party or attorney from whom I received it. By acknowledging these

obligations under the Order, I understand that I am submitting myself to the jurisdiction of the

United States District Court for the Southern District of New York for any willful violation of

any of the terms of the Order, which could subject me to sanctions, including contempt of Court.



Dated:




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